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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 CAMPAIGN LEGAL CENTER,
                                                         Civil Action No. 1:18-cv-00340 (ABJ)
         Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

         Defendant.



                                      [PROPOSED] ORDER

       Upon consideration of the parties’ joint status report, it is hereby ORDERED that the

parties shall submit a further joint status report on or before July 19, 2019.




Date: _______________________                          __________________________________
                                                       AMY BERMAN JACKSON
                                                       UNITED STATES DISTRICT JUDGE
